          Case 8:04-cr-00457-JSM-AAS Document 375 Filed 07/13/05 Page 1 of 8 PageID 984
A 0 245B , e v 12/03) Sheet 1 - Judgment in a Criminal Case
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                                 UNITED STATES DISTRICT COURT
                                                          MIDDLE DISTRICT OF FLORIDA
                                                               TAMPA DIVISION



UNITED STATES OF AMERICA                                           JUDGMENT IN A CFUMINAL CASE
                                                                   CASE NUMBER:        8:04-cr-457-T-30MSS
                                                                   USM NUMBER:         42362-018



JESUS DIAZ
                                                                   Defendant's Attorney: Ronald Marzullo, cja.

'THE DEFENDANT:

-
X pleaded guilty to count(s) ONE of the Second Superseding Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
-was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                           NATURE OF OFFENSE                                  OFFENSE ENDED               COUNT

                                          Conspiracy to Distribute and Possession With Intent September 23, 2004         One
                                          to Distribute One Kilogram or More of a Mixture or
                                          Substance Containing Heroin


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-
X Count(s) ONE of the Indictment and Count One of the First Superseding Indictment are dismissed on the motion of the United
States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                    Date of Imposition of Sentence: June 24, 2005




                                                                                    ykyb STATES DISTRICT ~                     G     E

                                                                                    DATE: July     /3,2005
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:       JESUS DIAZ                                                    Judgment - Page 2 of 6
Case No.:        8:04-cr-457-T-30MSS

                                                             IMPRISONMENT

          After considering the advisory sentencing guidelines a n d all of the factors identified in Title 18 U.S.C.
$5 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and EIGHTY-EIGHT (188) MONTHS as to Count One of the Second
Superseding Indictment. The terms of imprisonment imposed by this judgment shall run concurrently with the defendant's
term of imprisonment imposed on June 14, 2004, in the Circuit Court of Manatee County, Florida, Case No. 2003-CF-
4073.

X The court makes the following recommendations to the Bureau of Prisons: The defendant shall receive immediate medical
treatment for Hepatitis C while incarcerated. The defendant shall be placed at FCI Coleman, if possible. If the defendant cannot
be placed at FCI Coleman, the defendant shall be placed in a correctional facility located as close to New York City. The Court
further recommends that the defendant participate in the 500 hour intensive drug treatment program while incarcerated.



J- The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          -at -a.n~./p.m. on -.
          - as notified by the United States Marshal.

   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          -before 2 p.m. on -.
          - as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

          I have executed this judgment as follows:




         Defendant delivered on                                                   to                                   at

                                                                       , with a certified copy of this judgment.




                                                                                        United States Marshal

                                                                     By:

                                                                     Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            JESUS DIAZ                                                   Judgment - Page 3 of 6
Case No.:             8:04-cr-457-T-30MSS
                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Second Superseding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse. However, the Court authorizes the probation officer to conduct random drug testing not to exceed 104 tests
           per year.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the permission of the court or probation officer;

            the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfi~llyall inquiries by the probation officer and follow the instructions of the probation officer;

            the defendant shall support his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

            the defendant shall refrain from excessive use of alcohol and shall not purchasc. possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged i n criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;

            the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;

            the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

            the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court;

            as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
            or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
            compliance with such notification requirement.
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A 0 245B (Rev. 12103) Sheet 3C - Supervised Release
- -     -


Defendant:           JESUS DIAZ                                                       Judgment - Page 4 ' o f 6
Case No. :           8:04-cr-457-T-30MSS
                                             SPECIAL CONDITIONS OF SUPERVISION

            The defendant shall also comply with the following additional conditions of supervised release:

-
X           The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andlor inpatient) for treatment
            of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
            abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
            amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.

-
X           The defendant shall participate as directed in a program of mental health treatment approved by the Probation Officer.
            Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount
            determined reasonable to by Probation Officer based on ability to pay or availability of third party payment and in
            conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.

-
X           The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
            determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104 tests
            per year.
       Case 8:04-cr-00457-JSM-AAS Document 375 Filed 07/13/05 Page 5 of 8 PageID 988
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:          JESUS DIAZ                                                 Judgment - Page 5 of 6
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                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                             -
                                                                       Fie                         Total Restitution

          Totals:                                                      Waived


 -         The determination of restitution is deferred until -.                An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
 -         The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or ercenta e payment column below. However, pursuant to 18 U.S.C. 5
                                                             d'         %
           3664(i), all nonfederal victims must be pal before t e United States.
                                                                                                                  Priority Order or
                                                        *Total                     Amount of                      Percentage of
 Name of Payee                                       Anlount of Loss            Restitution Ordered               Pavment




                                Totals:              L                          L

 -         Restitution amount ordered pursuant to plea agreement $
 -         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. Q: 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. Q: 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine            - restitution.

         -          the interest requirement for the - fine                 restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:         JESUS DIAZ                                             Judgment - Page 6of 6
Case No.:          8:04-cr-457-T-30MSS


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                    , Or
                            -in accordance - C , - D, - E or - F below; or
                   Payment to begin immediately (may be combined with -C , -D, or -F below); or
                   Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                   period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                   date of this judgment; or
                  Payment in equal                (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                          payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except                                made through the
         6                              g
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                      P                             Z d'
or portions thereof, subject to forfeiture, which are in the ossession or control of t e efendant or the defendant's
nominees. The amended forfeiture order [Dkt. 3731 filed on 7 12/05 shall be made part of this Judgment and Commitment
Order.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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      Case 8:04-cr-00457-JSM-EAJ         Document 373       Filed 07112/2OO5    Page 1 of 2



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

   UNITED STATES OF AMERICA,

          Plaintiff,

                                                     CASE NO. 8:04-cr-457-T-30EAJ

   JESUS DIAZ,

          Defendant.


                       AMENDED FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the filing of the Motion of the United

  States of America for Entry of a Forfeiture Money Judgment, which, at sentencing, shall

   be a final order of forfeiture as to funds in the amount of $   $YO, 033 0 8           -- In

   United States currency for which defendant Jesus Diaz is jointly and severally liable to

  the United States, along with all other defendants found guilty of the heroin trafficking

  conspiracy charged in Count One of the Second Superseding Indictment filed in the

   instant case. For good cause shown, the Government's motion is GRANTED. The

  court hereby finds that $-   ----z&J,8 0 0 - 00         in United States currency is the

  amount of funds obtained by the defendants as a result of the conspiracy charged in

  Count One of the Second Superseding Indictment in violation of 21 U.S.C. § 841(a)(l),

  all in violation of 21 U.S.C. $3 84l(b)(l)(A)(i) and 846, for which defendant has been

  found guilty. Accordingly, it is hereby

          ORDERED, ADJUDGED and DECREED that defendant Jesus Diaz is jointly and

  severally liable with all other defendants found guilty of the heroin trafficking conspiracy

  charged in Count One of the Second Superseding Indictment, pursuant to the
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     provisions of 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(h)(2),for a forfeiture money
     judgment in the amount of $     2401OOG -*Oo                in United States currency,

     which represents the like amount of proceeds the defendant and others obtained as a

     result of the conspiracy to commit violations of 21 U.S.C. 3 841 (a)(l),all in violation of

     21 U.S.C. §§ 841(b)(l)(A)(i) and 846.

          >
          -%
           ,       f
               DON and ORDERED in Chambers In Tampa, Florida, this            1%       day of




                                                           STATES DISTRICT JUDQ'E
                                                       UNL~D



     Copies to:

     Adelaide G. Few, AUSA
     All Attorneys of Record
